                           UNITED STATES BANKRUTPCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


  In re:                                           Bankruptcy Case No. 13-53846
  City of Detroit, Michigan,                       Judge Thomas J. Tucker
                 Debtor.                           Chapter 9



 STIPULATION TO EXTEND TIME TO FILE RESPONSE TO DEBTOR’S
   MOTION TO CITY OF DETROIT’S MOTION FOR ENTRY OF AN
 ORDER ENFORCING THE BAR DATE ORDER AND CONFIRMATION
              ORDER AGAINST KENNETH NIXON

         UPON STIPULATION of the City of Detroit and Kenneth Nixon, by and

through their attorneys, and the Court being fully advised in the premises, as follows:

         The City of Detroit filed its Motion for the Entry of an Order Enforcing the

Bar Date Order and Confirmation Order Against Kenneth Nixon (Doc 13722)

(“Motion”) on August 23, 2024, and Mr. Nixon’s response to the Motion is currently

due within 14 days (September 6, 2023).

         Mr. Nixon’s counsel has requested an additional 14 days to respond due to the

Labor Day holiday and intervening deadlines in other matters; counsel for the City

of Detroit has agreed with the request.

         The parties thus respectfully request that the Court enter an order in

substantially the same form as the one attached as Exhibit A, providing that Mr.

Nixon’s deadline to respond to the Motion is extended to September 20, 2023.

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Stipulated on September 5, 2023:


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  In re:                                           Bankruptcy Case No. 13-53846
  City of Detroit, Michigan,                       Judge Thomas J. Tucker
                 Debtor.                           Chapter 9



   STIPULATED ORDER TO EXTEND TIME TO FILE RESPONSE TO
  DEBTOR’S MOTION TO CITY OF DETROIT’S MOTION FOR ENTRY
      OF AN ORDER ENFORCING THE BAR DATE ORDER AND
       CONFIRMATION ORDER AGAINST KENNETH NIXON

         Upon the stipulation of the City of Detroit and Kenneth Nixon filed on

September 5, 2023; and the Court finding good cause for the entry of this Order,

         IT IS HEREBY ORDERED that Mr. Nixon’s Response to the City of

Detroit’s Motion filed at docket 13722 is now due by September 20, 2023.




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